             Case 1:13-cv-13281-RWZ Document 11 Filed 06/27/14 Page 1 of 1




                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS



FRANK FRANCO
            Plaintiff
               V.
                                                        CIVIL ACTION: 13CV13281-RWZ

COLLECTO, INC. ET AL
            Defendant




                                       ORDER OF DISMISSAL

ZOBEL, D.J.                                                   JUNE 27, 2014



            The Court having been advised by counsel for the parties that the above action has been

settled, it is ORDERED that this action is hereby dismissed without costs and without prejudice to

the right, upon good cause shown within 30 days, to reopen the action if settlement is not

consummated.



                                                       By the Court,



                                                       s/ Lisa A. Urso
                                                       Deputy Clerk

30day.ord
